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                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF LOUISIANA

          IN RE: EUGENE BARON SCHWING, JR.                       CASE NO. 18-13335

                  DEBTOR(S)                                       CHAPTER 13

                                                                 SECTION “A”


                                    AMENDED MAILING MATRIX

          Comes now debtor(s) by counsel and reports to the court the following amended address for

   the following creditor:

   (p) REPUBLIC FINANCE LLC
   282 Tower Rd
   Ponchatoula, LA 70454

                                                                 /s/ Steven J. Hunter
                                                                 Steven J. Hunter (33194)
                                                                 Attorney for Debtor(s)
                                                                 3500 North Hullen Street
                                                                 Suite 241
                                                                 Metairie, LA 70002
                                                                 504-598-5313
                                                                 Steven.john.hunter@live.com




                                      CERTIFICATE OF SERVICE

          I, Steven J. Hunter, do affirm that on April 17, 2024 this Amended Mailing Matrix was

   served by electronic filing or First Class Mail, properly addressed and postage prepaid, upon the

   following parties of interest and the parties on the attached amended mailing matrix:

         Eugene Baron Schwing, Jr. 239 Dilton St New Orleans LA 70123

         Trustee Sterling J. Beaulieu, Jr. VIA ECF sjb@ch13no.com

         Office of U.S. Trustee via ECF USTPRegion05.NR.ECF@usdoj.gov


                                                                 /s/ Steven J. Hunter
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                                                    Steven J. Hunter (33194)


                            AMENDED MAILING MATRIX


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